             Case 1:20-cv-02349-ELH Document 3 Filed 11/05/20 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MICH AUREL,                                      *

Plaintiff,                                       *

v.                                               *            Civil Action No. ELH-20-2349

HOLLY HOOVER, N.P., et al.,                      *

Defendants.                                 ***
                                        MEMORANDUM

        On August 14, 2020, Mich Aurel, a prisoner confined at the North Branch Correctional

Institution, filed this civil rights action (ECF 1), accompanied by a motion for leave to proceed in

forma pauperis (ECF 2). Aurel seeks to be transferred to an outside hospital for an independent

medical evaluation, diagnosis, and treatment and seeks $5,000,000 plus punitive damages. ECF 1 at

11.

        Aurel claims that he has been denied medical care for numerous conditions and that his sick

call slips have been destroyed by defendants. He provides a summary list of his medical problems

as follows: pain in heart, shortness of breath, fatigue, limitation of physical activity, light

headedness and fainting, numbness and changes in color, high and low blood pressure, orthostatic

hypotension, heart failure, heart valve disorders, coronary artery disease, denial of E.C.G. testing,

pain across chest, abdominal pain, lower back pain, kidney pain, nerve damage, skin rash, joint

pain, and dry skin. ECF 1 at 4.

        Aurel has filed roughly 50 actions in this court over the past nine years, including numerous

matters related to his medical care. In three of the cases that Aurel filed, he was granted leave to

proceed in forma pauperis, pursuant to the provisions of 28 U.S.C. § 1915(a). The cases were

dismissed as frivolous or for failure to state a claim. Aurel has repeatedly been notified that the
           Case 1:20-cv-02349-ELH Document 3 Filed 11/05/20 Page 2 of 4



dismissals constituted “strikes” under § 1915(e),1 and that a prisoner is not allowed to bring a civil

action under the provisions of 28 U.S.C. § 1915 if he "has, on 3 or more occasions, while

incarcerated or detained in any facility, brought an action or appeal in a court of the United States

that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim upon which

relief may be granted, unless the prisoner is under imminent danger of serious physical injury." 28

U.S.C. § 1915(g).2

       As Aurel’s case is subject to review under 28 U.S.C. § 1915(g), he may not proceed in this

action unless he (1) submits the $400.00 civil filing fee or (2) moves to proceed in forma pauperis

and provides particularized factual allegations establishing that he is subject to imminent danger of

serious physical injury.

       Aurel provides conclusory allegations to support his position that he is in imminent danger.

He states: “I have serious physical harm; I am murder slow bae [sic] all the defendant’sss [sic] … I

am in imminent danger of serious physical harm every day… I’m being harmed every day, and I am

in pain 24/7. I have suffered irreparable harm to my Body/Organs.” ECF 1 at 3, 5, 6.


       1
          See, e.g., Mich v. Nice, et al., Civil Action No. JKB-14-1397; Aurel v. Gainer, et al.,
Civil Action No. ELH-15-1750; Aurel v. Jones, et al., ELH-15-1928; Aurel v. NBCI, et al., Civil
Action No. ELH-16-0850; Aurel v. NBCI, et al., Civil Action No. ELH-16-0851; Aurel v.
Vanskiver, Civil Action No. ELH-19-2756; Aurel v. Kammauf, et al., Civil Action No. ELH-20-
0511; Aurel v. Hoover, et al., Civil Action No. ELH-20-1339; and Aurel v. Hallworth, ELH-20-
1340.
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           Specifically, §1915g) mandates that:

       In no event shall a prisoner bring a civil action or appeal a judgment in a civil
       action or proceeding under this section if the prisoner has, on 3 or more prior
       occasions, while incarcerated or detained in any facility, brought an action or
       appeal in a court of the United States that was dismissed on the grounds that it is
       frivolous, malicious, or fails to state a claim upon which relief may be granted,
       unless the prisoner is under imminent danger of serious physical injury.

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          Case 1:20-cv-02349-ELH Document 3 Filed 11/05/20 Page 3 of 4



       The court notes Aurel’s extensive litigation regarding claims of inadequate medical care. At

the time this action was filed, there was a case pending that had consolidated two of Aurel’s cases

alleging inadequate medical care. See Aurel v. Hallworth, et al., ELH-19-0185 (ECF 10; ECF 43)

and Aurel v. Corizon Health Services, Inc., et al., ELH-19-2253. In the consolidated action

(hereinafter, “Hallworth”), Aurel alleged that defendants denied him adequate medical treatment for

numerous illnesses and health conditions, as follows: pain in his right lower back, right shoulder,

right side, liver, abdomen; nerve damage; difficulty swallowing; throat and tongue infections;

hoarseness; lumps in his neck; numbness on the right side; constipation; blood in stool; ulcers;

Crohn’s disease or colon cancer; inability to urinate; hypertrophy and enlarged prostate; prostate

cancer; hyperthyroidism with dry skin and itching. Hallworth, ECF 1 at 3-7; ECF 43 at 3.

       Additionally, the consolidated action was originally stayed pending resolution of yet another

medical care case, Aurel v. Pierce, et al., Civil Action No. ELH-18-2463 (hereinafter, “Pierce”),

because of the similarity of issues. See Hallworth, ECF 8. Aurel alleged in Pierce the following

untreated medical conditions: abdominal pain; constipation; a colon infection; blood in stool; an

ulcer; infections of the kidneys, stomach, liver, blood, urinary tract, pancreas and large and small

intestines; pain in the right hip, right shoulder, and lower back; inability to urinate; prostate and

thyroid cancer; liver pain; a liver cyst; throat, neck and chest pain; hoarseness; hypothyroidism;

shortness of breath; swollen lymph nodes; and nerve pain. Pierce was dismissed on the defendants’

motions to dismiss and for summary judgment. Id., ECF 31.

       The stay in Hallworth was subsequently lifted. On September 10, 2020, Hallworth was

dismissed on the defendants’ motions to dismiss and for summary judgment. Id., ECF 40.




                                                 3
              Case 1:20-cv-02349-ELH Document 3 Filed 11/05/20 Page 4 of 4



        Aurel’s medical care concerns have been addressed in additional litigation, including Aurel

v. Wexford, et al., Civil Action ELH-15-1127, consolidated with ELH-15-1797 (granting summary

judgment to medical defendants; complaints of abdominal, throat and chest pain, coughing, blurred

vision, vomiting, blood in stool, constipation, weakness, ear pain, cancer of the throat, stomach,

pancreas, gallbladder, eye and liver); Aurel v. Wexford, et al., Civil Action ELH-16-1293 (granting

summary judgment to medical defendants; complaints of lower back and head pain stemming from

2009 fall, destruction of sick call requests, and denial of back brace); Aurel v. Wexford, et al., Civil

Action ELH-18-1251 (granting summary judgment to medical defendants; complaints of lower

back pain, abdominal pain, throat pain, tongue infection, thyroid, liver, prostate and colon cancers,

gastrointestinal problems, including constipation, ulcers and blood in stool, and hepatitis A & B

infection).

        There is no basis for granting Aurel review of his current claims under the § 1915(g)

exception. He filed the instant action while his medical care complaints were being assessed in

Hallworth. In Hallworth, the court found in defendants’ favor on all claims. Aurel’s allegations

herein are insufficient to allege imminent danger of serious physical harm.

        Aurel is forewarned that should he attempt to file future civil rights actions in this court,

they must be accompanied by the civil filing fee. In the alternative, a complaint filed with an

indigency application must demonstrate that Aurel is in imminent danger of serious physical harm.

        Accordingly, Aurel’s motion to proceed in forma pauperis shall be denied and his

Complaint shall be dismissed, without prejudice, by separate Order.


Date: November 5, 2020                                        /s/
                                                       Ellen L. Hollander
                                                       United States District Judge

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